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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

[N RE:
Case No. 17-11527-JGR
WESTMOUNTA]N GOLD, ]NC.

a Colorado corporation Chapter 11

E]N: XX-XXXXXXX
Debtor.

 

IN RE:
Case No. 17-11528-JGR
TERRA GOLD CORPORATION, an Alaska
Corporation Chapter 11
E]N: XX-XXXXXXX

Debtor. Jointly Administered Under

Case No. 17-11527-JGR

 

WESTMOUNTA]N GOLD, INC.
Piaintiff,

Adversary No. 1?- -JGR

V.

DANIELL VAUGHAN AND DAN[EL PACE AND
THE LAW FIRM OF DAN[EL PACE
Defendants.

\_/\_/\-/\_,/\_l\.,/\_,_/\.,/\_,/\_/\_/\_/\_/\-_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/V\_/\_/

COMPLAINT TO AVOID AND RECOVER PREFERENTIAL TRANSFERS

The Plaintiff, WestMountain Gold, Inc., by and through its attorneys Kutner Brinen, P.C.,
states its Complaint against the Defendants as follows:

1. The Plaintiff is a debtor in possession having filed its bankruptcy case under
Chapter 11 of the Bankruptcy Code on March 1, 2017 in the Banki'uptcy Court for the District of
Colorado, Case No. 17-1 1527-1 GR (“Bankruptcy Case”).

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2. Defendant, Daniel Vaughn (“Vaughn”) is an individual who on information and
belief resides in the State of Alaska. At one time pre»petition Vaughn was an employee of the
Plaintiff.

3. Defendant, Daniel Pace (“Pace”) is an individual Who is an attorney in the State
of Alaska and on information and belief resides in the State of Alaska.

4. Defendant Law Office of Daniel I. Pace is on information and belief the name of
the entity or a business name for Pace with offices located at 101 E. 9th Ave., Suite 7A,
Anchorage, Alaska 99501. The Law Office of Daniel I. Pace shall be referred to collectively
with Pace as “Pace”.

5. This action is brought to seek relief in accordance with 11 U.S.C. §§547, 550 and
other applicable law.

6. This adversary proceeding arises out of and relates to the above-captioned
Chapter ll case.

7. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and
157. This matter constitutes a “core” proceeding within the meaning of 28 U.S.C. §§ 157(b)(l)
and 157(b)(2)(F) and (O). The Court has authority to enter final orders in this adversary
proceeding and the Plaintiff consents to entry of final orders by the Bankruptcy Court.

8. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1409, as this adversary
proceeding arises in or relates to a case under Title ll of the United States Code, which is
pending in this district.

9. The Plaintiff filed its Voluntary Petition on March 1, 2017 (“Petition Date”).

10. The Plaintiff is a publicly held corporation that is engaged in business as a
precious metals exploration company. The Plaintist major project is known as the Terra or
TMC Project which consists of a gold mining operation located in the State of Alaska.

ll. Vaughan is an individual Who filed a pre»petition lawsuit narriing the Plaintiff as a
defendant in the Superior Court for State of Alaska, Third ludicial District, case number 3AN-
16-06398CI in order to collect wages and other claims (“Lawsuit”).

12. The Lawsuit Was settled and the parties to the Lawsuit, on or about November 7,
2016, executed a Settlement, Release, Covenant Not to Sue, and Waiver Agreement

(“Settlement”). A copy of the Settlement is attached hereto as EXhibit A.

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13. Pursuant to the terms of the Settlement, the Plaintiff on lanuary 5, 2017, sent two
wire transfers to pay the unsecured settlement amount due to Vaughn and his attorney, Pace.
The first wire was for $26,050 and the beneficiary was Pace. The second wire was for
$21,956.27 and the beneficiary was Pace. The Settlement provided in its terms that the sum of
$26,050 be paid to Pace and the $27,000 be paid to Vaughn for wage and non-wage related
damages. Collectively all of the payments total $53,050 (“Transfers”).

14. The Transfers were all sent to Pace’s office and the specific payment made to
Pace was money due to Vaughn but paid to Pace to pay Vaughn’s legal fees and costs. As such
Pace is a direct and subsequent transferee of the monies due and paid to Vaughn.

15. An additional transfer of 165,000 shares of the Plaintiff’s common stock was
transferred to Vaughn on December 2, 2016 on account of his unsecured claim pursuant to the
Settlement within the ninety day preference period (“Stock Transfer”). A copy of the stock
certificate is attached hereto as Exhibit B.

16. rI`he Transfers and the Stock Transfer were all made within ninety (90) days of the
Plaintiff’s Petition Date.

17. The Transfers and the Stock Transfer were all made on account of antecedent
unsecured claims held by Vaughn.

18. The Transfers and the Stock Transfer all enabled both Defendants to receive more
than such creditors would receive if this case were a case under chapter 7 of the Bankruptcy
Code, the Transfers and Stock Transfer had not been made, and the Defendants received
payment of such claims to the extent provided by the provisions of the Bankruptcy Code.

19. The Transfers and Stock Transfer were all made While the Plaintiff Was insolvent

20. The Transfers and Stock Transfer are all avoidable pursuant to 11 U.S.C. §547.

21. The Plaintiff may recover from the Defendants the amount and value of the
Transfer and the Stock Transfer for the benefit of the Plaintiff’s bankruptcy estate under 11
U.S.C. §550.

WI~IEREFORE, Plaintiff prays that the Court make and enter judgment in favor of the
Plaintiff: a) avoiding all of the Transfers and Stock Transfer made to the Defendants; b) against the
Defendants jointly and severally for no less than the amount of the Transfers and Stock Transfer;

and c) for such further and additional relief as to the Court may appear proper.

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Dated: August 17, 2017 Respectfully submitted,

By: /s/ Lee M. Kumer
Lee M. Kutner, #10966

 

KUTNER BRINEN, P.C.
1660 Lincoln Street, Suite 1850
Denver, CO 80264

Telephone: (303) 832-2400
Telecopy: (303) 832-1510
E-Mail: lmk@kutnerlaw.com

COUNSEL FoR THE PLAINTIFF

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SETTLEMENT, RELEASE, COVENANT NOT TO SUE, AND
WA|VER AGREEMENT

|. PARTIES

Daniel Vaughan (“Vaughan”) and WestMountain Go|d, lnc, (“Westlviountain")
collectively (the “Parties") have entered into this Settlement Reiease, Covenant Not to
Sue. and Waiver Agreement (“Agreernent“), and have reached an amicable resolution
of any and atf disputes as set forth in this Agreernent includingl but not limited to, those
set forth in Daniel Vaughan v. WestMountain Gold and James Creamer, 3AN~16-
063980! (the "t_awsuit"), which was filed in Anchorage, Alasl<a.

il. RECITALS
WHEREAS, Westlvlountain Gold employed Vaughan.

WHEREAS, Vaughan filed a lawsuit in the Superior Court for State of Alas|<a,
Third Judiciai District captioned: Daniei Vaughan v. WestMountain Gold and James
Creamer. 3AN-XX-XXXXXXX (the “Lawsuit").

WHEREAS, the Lawsuit alleged violations of the Aiaska Wage and l-lour Act,
Alaska Statutes 23.10.050 et seq., forfeiture to pay overtime compensation

Wl-IERAS, Vaughan desires to fite an amended complaint seeking damages
for violations of the Fair Labor Stanclards Act, breach of contract failure to pay Wages
when due, and unlawful retaliation

WHEREAS, Vaughan, Westlvlountain Gold and Creamer agree that the
Lawsuit shall be dismissed; and

WHEREAS, without admitting fault or liability in any respect, same being
expressly denied, Vaughan, WestNlountain Gold and Creamer desire to settle and
resolve fully and finally any potential claimsl known or tater discovered, that Vaughan
may presently have arising out of or relating in any way to Vaug`han's employment or
separation from employment with Westlviountain Gold and Creamer.

NOW THEREFORE, in consideration of the mutuai promises hereinafter set
forth, and for other good and valuable considerationl receipt of which is hereby
acknowledgedl Vaughan and Westl\/lountain Gold agree as follows:

|li. TERMS AND CONDlTlONS

1. Monetary and Other Consideration.

`A. in full and complete satisfaction of any and all claims as set forth in
Paragraph 2 of this Agreement, and in consideration for Vaughan's execution of this
Agreement, and subject to atl other terms and conditions of this Agreement,

 

SETTLEMENT AND RELEASE Page 1 of 6

Exhibit A

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Westiviountain Goid agrees to pay Vaughan in the amount of TWENT\’ SEVEN
THOUSAND dollars ($27,000). less applicable tax deductions described below, in the
form of a cashier‘s check addressed to “Pace Law Offices in Trust For Daniel
Vaughan" and mailed to 101 E 9th Ave, Ste 7A, Anchorage, AK 99501. This
settlement shall be paid within 30 days of execution of this Settlement Agreement and
the Lawsuit has been dismissed with prejudice and apportioned as foilows:

(i) Payrnent in the amount of Tl-ltRTEEN THOUSAND FIVE
HUNDRED dollars ($13,500), less applicable tax <:leductions,l for wage related
damages.

(ii) Payment in the amount of TH|RTEEN THOUSAND F|VE
HUNDRED doliars ($'13,500), which will not be subject to tax deductions.__for non-wage
related damages

(iii) Payrnent in the amount of twenty-six thousand fifty dollars
($26,050.00) shall be paid to Vaughan's attorney Daniei Pace.

B. |n addition, WestMountain Goid agrees to transfer 165,000 shares of
Westlvlountain Go|d, inc. common stock to Vaughan within 30 days cf execution of
this Settlement Agreement and the Lawsuit has been dismissed with prejudice

C. Upon execution of this Agreement, the Parties must and shall cause
their respective counsel to file a Notice of Settlement and Stipuiated Dismissai with
the Court and seek the Court’s approval of the settlement The Settlement and
Stipu!ated Dismissal shall be contingent upon Westl\flountain Gold not breaching the
payment and the agreement to transfer 165,000 shares contained in Paragraphs
'l(A)-(B). Should Westl\ilountain Gold breach its obiigations set forth in Paragraphs
1(A)-(B) by more than 7 business days, Daniei Vaughan shall be permitted to file a
motion with the court to reopen the case and obtain a judgment against
Westlvlountain for the balance of the settlement due and pursue any and all claims
Vaughan may have against Creamer. ln such a situationl the terms of this Agreement
contained in Paragraph Z(A)-(C) that reiate in any way to releasing Creamer from
liability are null and void. Any money paid to Vaughan by Westlvlountain Gold will be
applied to Vaughan’s damages arising furthest in time from today’s date, subject to
the applicable statute of limitations to avoid a double recovery.

D. The payment to Vaughan described in Paragraph ‘l(A) includes
satisfaction of any liquidated damages that may be due in accordance with AS
23.10.110(a) or federal law.

E. The payments to Vaughan set forth in Paragraph 'l shall be made within
thirty (30) business days of the effective date of this Agreement. The Agreement will
be effective after (‘l) it has been executed by the Parties and counsel for
Westlviountain Goid and Creamer has received a copy of the executed Agreement by

 

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Vaughan and (2) proof that the Lawsuit has been dismissed with prejudice as
provided in Paragraph 2.

2. Conditional Re|ease of Claims.

A. Vaughan, his successors assigns agents and attorneys hereby
releases exonerates, satisfies acquits and forever discharges Creamer and
Westllllountain Goid, its officers directors representatives shareholders affiliates
members agents employees attorneys subsidiaries parent companies successors
and assigns (aii hereinafter referred to collectively as the “Company")l with respect to
any and all claims obligations demands liabilities costs expenses and/or causes of
action of whatever nature, whether known or unknown, and waives any and all
claims liabilities obligations promises damages costs expenses (incl`uding
attorney's fees and costs incurred) and/or rights of any kind and description,,whether
known or unknown that he has or may have against Creamer and the Company as of
the date of this Agreement, including but not limited to the subject matter of the
Lawsuit Vaughan further discharges Creamer and the Company for any acts and!or
omissions by Creamer and the Cornpany before, during or after Vaughan's
employment with the Company that may have violated his rights whether inchoate or
othenivise andlor constituting a failure to fulfill any obligation or duty arising as a result
of any federal, state or local statute or other law, any compensation plan, benefit plan,
contract agreement or understandingl whether express or implied, any tort cr other
cause of action, including but not limited to any claim arising under the laws or
regulations of the State of Aiasl<a. or in any way related whatsoever, to the Lawsuit
andlor Vaughan’s prior employment with or separation from Westlvlountain Gold and
Creamer.

B. Vaughan understands and expressly agrees that this release includes
but is not limited to, any claims charges actions or lawsuits that might have been
asserted under local, stats and federal statutes ordinances regulations Executive
Ordersl wage and hour, wage payment and equal employment opportunity
iegislation, such as the Alasl<a Wage and l-lour Act, the Fair Labor Standards Act,
Alasl<a l-lurnan Rights Law, Title V|l o_f the Civil Rights Act. the Age Discrirnination in
Employment Act, the Americans with Disabilities Act, the Civil Rights Act of 1991, the
Family and lviedicai l_eave Aci, the Rehabiiitation Act of 1973, and Executive Order
11246, all as amended, under any and all state |aw, common law, tort, or wrongful
discharge causes of action or theories and any employment contract, express or
implied, including the covenant of good faith and fair dealing, which might otherwise
have governed the employment relationship previously existing between Vaughan
and Creamer and the Company.

C. VAUGHAN FUl_LY UNDERSTANDS THAT HE IS GlV|NG UP ALi_ OF
l'ilS RiGHTS OF ANY KIND AGA|NST CREAMER AND THE COMPANY, KNOWN
OR UNKNOWN, AS DESCREBED lN TH|S AGREEMENT, AND SPECiFlCAi_LY
AGREES TO DlSMlSS W|TH PREJUDICE THE LAWSU|T FlLED ON l'ilS BEHALF
iN THE LAWSUET AND ANY RELATED CHARGES, COMPLA|NTS OR CLAiMS.

 

SE'l'|`LElVlENT AND RELEASE Page 3 of 6

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D. 'l'he terms ot this Agreement contained within Paragraphs Z(A)*(C) as they
relate to Creamer are conditioned upon WestMountain Gold fully performing its
obligations set forth in Paragraphs 1(A)-(B).

3. Covenant Not to Sue.

Vaughan further covenants not to bring any action or litigation of any kind in
any jurisdiction against Creamer and the Company with respect to claims of any kind
arising out of or relating to Vaughan’s past employment with or separation from
employment with the Company. .

4. No Admission of Liabitity.

Vaughan acknowledges that this Agreement is solely for the purpose of settling
any and all claims arising from Vaughan's employment relationship"' with the
Company. and the termination of that relationship1 and that Creamer and the
Company do not, in executing this Agreement, admit liability for or otherwise make
any representations concerning any claims that may existl Vaughan also agrees to
take no action at any time hereafter that would have the effect of disparaging the
Creamer and the Company.

5. Advice of Coun`sel.

Each Party warrants that the terms of this Agreement have been carefully
reviewed and that each Party understands its content and has had the opportunity to
obtain the advice of legal counsel before executing it.

6. Voluntary Execution.

A. Each Party further agrees that this Agreement is voluntarily accepted,
that the Party is not executing the document as a result of financial disadvantage, that
no promise or inducement has been offered or made except as set forth in this
document and that this document is executed without reliance upon any statement or
representation by any other Party, its agents or attorneys concerning the nature and
extent of any Party's injuries or damages or other legal liability of any Party.
Accordingly, each Party voluntarily waives any and all rights to void this Agreement,
or any of its provisions due to economic or business compulsion.

B. The Parties enter into this Agreernent voluntarily and solely on the basis
of their own investigation and knowledge of the facts No Party is financially
disadvantages nor has any Party been pressured. harried or otherwise coerced by
any other Party in executing this Agreernent. No Party relies upon any statement or
representation made by or on behaif of any other Party concerning the existence or
extent of any legal Iiability, or the nature, extent or duration of any Damages.

C. The Parties have been advised of, and are familiar with, the decisions of
the Alaska Supreme Court regarding settlement and release, including ifth v.

 

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irl/atkins 579 P.2d 1065 (Alaska 1978); Alaska Airlines v. Sweat, 568 P.2d 916
(Alaska 1977); and Young v. State of Alaska, 455 P.Zd 889 (Alaska 1969]- The
Parties acknowledge and voluntarily assume all risk they may have incurred damages
related to the incident and the lawsuit1 which are neither known nor anticipated by the
Parties as of this date, or known damages related to the incident and lawsuit that may
become permanent, progressive or more extensive than is now known or anticipated
by the Party.

D. The Parties understand and acknowledge this settlement is a
compromise of a disputed claim. The negotiation of this settlement and execution of
this Agreement is not an admission of liability on the part of any Party, each of whom
expressly denies liability. Lii<ewise, this settlement and execution of this Agreement
is not an admission by any Party as to either the existence or extent of any damages

7. Confidentiality.

Vaughan agrees that he, including his counsel and agents will keep strictly
confidential the existence and terms of this Agreement (including but not limited to the
consideration paid hereunder) and will not use or disclose the Company’s name in
any form of media. The sole exceptions to this confidentiality agreement are for
communications to Vaughan's immediate family and personal attorney(s), his
personal tax advisors (attorney and/or accountant), or as required by applicable law.
Vaughan further agrees to take all steps necessary to ensure that confidentiality is
maintained by all of the individuals or entities to whom authorized disclosure is or was
made, including but not limited to informing them that the existence and terms of this
Agreement are strictly confidential and are not to be disclosed to any other person or
entity. Notwithstanding this provisicn, Vaughan or his attorney, upon request for
information concerning the Lawsuit, may tell parties to whom disclosure is not
authorized only that the claims against the WestMountain Gold and Creamer "have
been resolved." Vaughan acknowledges that his agreement to the provisions of this
Paragraph 7 is an essential part of this Agreement and of Westl\/lount_ain Gold and
Creamer entering into this Agreernent. lt is hereby agreed that any action for breach
of this Agreement shall be commenced in any court of competent jurisdiction within
Alaska.

8. Integ ration.

This Agreement embodies the full and complete understanding of the Parties
and upon execution, supersedes and renders null and void any and all prior
understandings and oral agreements between the Parties.

9. llllodification.

Any modification of this Agreement shall be deemed null and void unless made
in writing and signed by all the Parties or their legal counsel. Each Party forever
relinquishes the right to modify or rescind this Agreement upon any actual or alleged
unilateral or mutual mistake of fact.

 

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10. Severability.

ln the event that a court of competent jurisdiction deems any provision or part
of this Agreement invalid, all other provisions of this Agreement shall remain effective
valid, and legally binding

11. Binding Effect.

This Agreement shali be binding upon each Party and its representatives
successors and assigns, and shall inure to the benefit of ali Parties and their
representatives successors and assigns

12. Agreement Governed by Alaska Law.

This Agreement is made and entered into in Alaska and any dispute that may
arise under the Agreement shall be resolved in the Superior Court for the State of
Alaska, applying the substantive laws of the State of Alaska

13. Counterparh-;.

This Agreement may be executed in one or more counterparts, each of which
shall be deemed original and said counterparts shall constitute but one and the same
instrument that may be sufficiently evidenced by one counterpart

THE PARTIES ACKNOWLEDGE THEY ARE REPRESENTED BY, OR HAD THE
OPF’ORTUN|TY TO CONSULT WlTH, LEGAL COUNSEL lN REGARD `l`O TH[S
AGREEN|ENT. THE TERMS OF THlS AGREEMENT HAVE BEZEN CAREFULLY
RE_AD AND ARE l`-'ULLY UNDERSTOOD AND VOLUNTAR[LY ACCEF’TED BY THE
PARTlES FOR THE PURPOSE OF MAKING A FULL AND FlNAL COMPRONI|SE AND
SETTLEMENT OF Ai_L CLA|MS AND DAMAGES, D|SPUTED OR OTHERWESE,
AGAENST THE PART|ES. THE TERN|S OF THE AGREEMENT ARE CONTRACTUAL
AND NOT N|ERELY A RECITAL. -

Date: .//" //"~"<,Q£:§/é'/ ` />f//“UL /»j’)%//ZQ¢/&

Danie| Vaughan

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WestMountain Gold, lnc.

Date: By:
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SETTLEMENT AND RELEASE Page 6 of 6

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valid, and legally binding

1'l. Binding Effect.

'l-'his Agreernent shall be binding upon each Party and its representatives
successors and assigns and shall inure to the benefit of ail Parties and their
representatives successors and assigns

12. Agreernent Governecl by Alaska Law.

'l-'h-is Agreement is made and entered into in Alaska and any dispute that may
arise under the Agreement shall be resolved in the Superior Court for the State of
Alaska, applying the substantive laws of the State of Alaska.

13. Counterparts.

This 'Agreement may be executed in one or more counterparts each of which
shall be deemed original and said counterparts shall constitute but one and the same
instrument that may be sufficiently evidenced by one counterpart

THE PART|ES ACKNOWLEDGE THEY ARE REPRESENTED BV, OR HAD THE
OPPORTUN|TY TO CONSULT WlTH, LEGAL COUNSEL lN REGARD TO TH|S
AGREEMENT. THE TERMS OF TH[S AGREEMENT HAVE BEEN CAREFULLY READ
AND ARE FULLY UNDERSTOOD AND VOLUNTARILY ACCEPTED BY THE PART[ES
FOR THE PURPOSE OF MAK|NG A FULL AND FENAL COMPRO|V||SE AND
SETTLEMENT OF ALL CLA|MS AND DAMAGES, -D|SPUTED OR OTHERWlSE,
AGAINST THE PARTIES. THE TERMS OF THE AGREEMENT ARE CONTRACTUAL
AND NOT MERELYA REClTAL.

 

 

 
 

 

Date:
Danlei Vaughan
WestMountain Gold1
Date: *‘!“[! l b ' BYZ _

 

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SETTLEMENT AND RELE.ASE Page 6 of 6

     

 

 

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